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                                                    February 29, 2024


  Via ECF

  Honorable Claire C. Cecchi
  United States District Judge
  United States District Court                                                                                        ALBANY
   for the District of New Jersey                                                                                     AMSTERDAM
  Martin Luther King Courthouse                                                                                       ATLANTA

  50 Walnut Street                                                                                                    AUSTIN

  Newark, New Jersey 07102                                                                                            BOSTON
                                                                                                                      CHICAGO

            Re:       Juice Entertainment, LLC, et al. v. Live Nation Entertainment,                                  DALLAS

                      Inc., Civil Action No. 11-CIV-7318 (CCC) (CLW)                                                  DELAWARE
                                                                                                                      DENVER
                                                                                                                      FORT LAUDERDALE
  Dear Judge Cecchi:
                                                                                                                      HOUSTON
                                                                                                                      LAS VEGAS
  This letter was jointly prepared by counsel to Defendant Live Nation Entertainment, Inc.                            LONDON*
  (“Live Nation”) and Plaintiffs Thomas Dorfman, Christopher Barrett and Juice                                        LOS ANGELES
  Entertainment, LLC (“Plaintiffs”), as instructed by the Court during our conference on                              MEXICO CITY+
  February 23, during which Your Honor directed counsel to: (a) engage in further settlement                          MIAMI
  discussions as outlined during the call; and (b) if a settlement was not reached, to propose                        MILAN**
  an agreed upon schedule for the submission of the in limine motions also discussed during                           NEW JERSEY
  the call.                                                                                                           NEW YORK
                                                                                                                      ORANGE COUNTY

  On the subject of settlement, the parties have not reached resolution during the past week                          ORLANDO

  and do not believe that further elaboration on that subject in this publicly filed submission                       PALM BEACH

  would be appropriate or productive. Should the Court wish to receive further information                            COUNTY

  as to settlement efforts, the parties would be pleased to submit confidential updates to the                        PHILADELPHIA

  Court.                                                                                                              PHOENIX
                                                                                                                      ROME**
                                                                                                                      SACRAMENTO
  As to the subject of in limine motions, the parties have agreed that the parties will file
                                                                                                                      SAN FRANCISCO
  moving papers on or before March 14 and that any opposition will be filed on or
                                                                                                                      SHANGHAI
  before March 25. (The Court directed that there should be no reply papers on the motions).                          SILICON VALLEY
                                                                                                                      TALLAHASSEE
  Live Nation intends the motions to resolve disputed issues concerning the parties’                                  TAMPA
  extremely divergent views concerning the implications of the Court’s prior rulings and                              TEL AVIV^
  what remains of the case, as illustrated by the extremely different conceptions of the trial                        TYSONS CORNER
  advanced in the Final Pretrial Order. See ECF 133. As described therein, Live Nation                                WARSAW~
  believes this should be a one-day trial limited to liability only on four narrowly defined                          WASHINGTON, D.C.
  issues (all of which have been identified by prior rulings of the Court) and that all damages                       WHITE PLAINS
  have been ruled out based on prior orders of the Court. Plaintiffs conceive of a more                               * OPERATES AS GREENBERG
                                                                                                                        TRAURIG MAHER LLP
                                                                                                                      +
                                                                                                                           OPERATES AS GREENBERG
                                                                                                                           TRAURIG, S.C.
                                                                                                                      ^ A BRANCH OF
  GREENBERG TRAURIG, LLP  ATTORNEYS AT LAW  WWW.GTLAW.COM                                                             GREENBERG TRAURIG, P.A.
  500 Campus Drive, Suite 400  Florham Park, New Jersey 07932  Tel 973.360.7900  Fax 973.301.8410                    FLORIDA, USA
  ACTIVE 685629116v5                                                                                                  ~
                                                                                                                           OPERATES AS GREENBERG
                                                                                                                           TRAURIG GRZESIAK sp.k.
                                                                                                                      **
                                                                                                                           STRATEGIC ALLIANCE
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  expansive trial that will take two weeks on liability and one more day on damages, with
  nine “will call” liability witness (and 17 “may call” witnesses) and three witnesses on
  damages, including an expert. See ECF 133.

  Finally, the parties are in disagreement concerning a new trial date. Plaintiffs would like
  the Court to set a new trial date now and would request a new date in late April or early
  May. Plaintiffs’ position is that the case is thirteen (13) years old, and the parties will have
  time to prepare in the general timeframe proposed. Further, they believe a firm trial date
  is necessary at this point to move this case forward one way or another. Live Nation
  believes that setting a trial date should await the Court’s decision on the forthcoming in
  limine motions, because absent direction or rulings from the Court, the parties lack clarity
  about the length and subject matter of the trial and preparing for an undefined trial (and the
  attendant pre-trial submissions) imposes an undue burden. Live Nation respectfully
  suggests that Court’s rulings on in limine motions to address these divergent views are
  needed so that the contours of the trial are properly defined (including the issues to be tried
  and potential witnesses) sufficiently before the trial date to permit appropriate and
  reasonable trial preparation and therefore suggests that the new trial date be set after the
  Court’s ruling on the in limine motions (which rulings might also aid in the settlement
  process).

  As always, we appreciate the Court’s courtesies and kind consideration of this matter.

                                                 Respectfully submitted,
                                                 GREENBERG TRAURIG, LLP
                                                 /s/ Ian S. Marx
                                                 IAN S. MARX
  ISM/dad




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